 

Case 1:20-cv-06824-RMB-JS Document 5 Filed 06/09/20 Page 1 of 1 PagelD: 21

LENTO LAW GROUP, P.C.
Joseph D. Lento, Esquire

ID. # 013252008

3000 Atrium Way, Suite 200
Mt. Laurel, New Jersey 08054
856-652-2000 - P
856-375-1010 - F

Jdlento@lentolawgroup.com
Attorney for Plaintiff, Eduardo Rosario

 

EDUARDO ROSARIO

Vv

ALEX TORRES PRODUCTIONS, INC.

And

LA GUIRA, INC. d/b/a RED WINE

 

TO THE CLERK:

CIVIL NO. 1:20-cv-06824

NOTICE OF DISMISSAL
WITHOUT PREJUDICE

Please withdraw the Complaint without prejudice in the above captioned matter. This was filed

in error and should have been filed in the Eastern District of Pennsylvania.

Dated: June 9, 2020

RESPECTFULLY SUBMITTED,

LENTO LAW GROUP, P.C.

joreple, oS. Kents

JOSEPH LENTO, ESQUIRE

 
